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                       UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF
                         FLORIDA TAMPA DIVISION

  PROCCOR PHARMACEUTICALS, INC.,
  Plaintiff,
  v.                                              Case No. 8:22-cv-02227-SDM-SPF
  WORLD HEALTH PRODUCTS, LLC dba GAT
  SPORT and VITAMIN SHOPPE INDUSTRIES,
  INC., dba THE VITAMIN SHOPPE

  Defendants.

     DEFENDANTS WORLD HEALTH PRODUCTS, LLC AND VITAMIN
   SHOPPE INDUSTRIES, INC. ‘s UNOPPOSED MOTION FOR LEAVE TO
    FILE A REPLY BRIEF TO PLAINTIFF’S OPPOSITION TO MOTION IN
 LIMINE TO PRECLUDE THE TESTIMONY OF NEIL BEATON (Dkt. No. 179).

          Defendants World Health Products, LLC (“GAT Sports”) and Vitamin

 Shoppe Industries, Inc. (“TVS”), hereby file this unopposed motion, pursuant to

 Loc. R. 3.01(d), requesting leave to file a short seven (7) page reply brief in response

 to Plaintiff’s Opposition to Defendants’ Motion in Limine to Dkt. No. 179.

          The proposed reply brief will aid the Court in its resolution of the

 underlying motion. See, Short v. Immokalee Water & Sewage Dist., No. 2:18-cv-124-

 FtM-38CM, 2019 U.S. Dist. LEXIS 230131, at *2 (M.D. Fla. Jan. 23, 2019)(granting

 leave to file a reply brief where the reply would aid judicial resolution of the

 underlying motion); and see, Promenades Mall (E&A), Ltd. Liab. Co. v. Allstate Ins.

 Co., No. 2:08-cv-475-FtM-29SPC, 2008 U.S. Dist. LEXIS 125839, at *3 (M.D. Fla. Aug.


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 12, 2008)(“The purpose of a reply brief is to rebut any new law or facts contained

 in the oppositions response to a request for relief before the Court.”)

          For example, it will address that Plaintiff’s opposition ignores recent

 amendments to Fed. R. Evid. 702(d)(effective December 1, 2023) regarding the

 Plaintiff’s burden of proof on the admissibility of expert testimony and why

 Plaintiff’s argument that Defendants’ objection go to weight is wrong.

          It will also address Plaintiff’s argument that Mr. Beaton was not required to

 perform a Georgia Pacific analysis and how, even if we assume he was not, Mr.

 Beaton’s analysis was insufficient as a matter of law because he failed to explain

 how hardly any of the factors impacted his analysis. See, Exmark Mfg. Co. Inc. v.

 Briggs & Stratton Power Prods. Grp., LLC, 879 F.3d 1332, 1349-50 (Fed. Cir.

 2018)(royalty expert should have been precluded because “[n]o-where in her

 report, … did she tie the relevant Georgia-Pacific factors to the 5% royalty rate or

 explain how she calculated a 5% royalty rate using these factors.”). It will further

 address the argument that Plaintiff makes that even though he did not apply

 Georgia-Pacific, Mr. Beaton actually mirrored enough of the Georgia Pacific factors.

 Specifically it will refute that even inadvertently Mr. Beaton analyzed nine factors.

          It will also address that the factors Plaintiff admits Mr. Beaton ignored, such

 as actual sale price of Nitraflex®, the profit margin on Nitraflex®, industry

 licensing standards and the value added to Nitraflex® by the phrase ”Freedom


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 Pop”, are the critical factors for a case seeking a 102% royalty rate. See, generally,

 Exmark Mfg. Co. v. Briggs & Stratton Power Prods. Grp, LLC, supra at 1348, 2018 U.S.

 App. LEXIS 783, *29 (noting that the essential purpose of the hypothetical royalty

 exercise is to arrive at a number that reflects incremental value that the licensed

 mark adds to the end product.)

         Lastly, it will address the misstatement that Mr. Beaton satisfactorily

 explained why and how his experience is a sufficient basis for his opinion.

 Unleashed Magazine, Inc. v. Orange County, 2008 U.S. Dist. LEXIS 113383, *26-27 (M.

 D, Fla. 2008)

                      LOCAL RULE 3.01(g) CERTIFICATION
       I certify that I conferred by with counsel for the Plaintiff, G. Donovan
 Conwell, Jr., regarding the relief sought in this motion and that the relief requested
 herein will not be opposed.

                 Respectfully Submitted this 9th day of January, 2024.

                                          LEWIS BRISBOIS BISGAARD & SMITH LLP
                                          /s/ Patrick C. Campbell
                                          Patrick C. Campbell (pro hac vice)
                                          Alexander D. MacMullan (pro hac vice)
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                                          Counsel for Defendants

                             CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 9th day of January, 2024, I electronically
 filed a true and correct copy of the foregoing document with the Clerk of the Court
 using CM/ECF, which will send an Electronic Mail notification of same to all
 counsel of record.

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